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         ORDERED in the Southern District of Florida on December 12, 2022.



                                                           Scott M. Grossman, Judge
_____________________________________________________________________________
                                           United States Bankruptcy Court




                               IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF FLORIDA
                                      FORT LAUDERDALE DIVISION
         In re:

         RALPH LEVI SANDERS, JR.                                             CASE NO. 22-14766-SMG
                                                                             CHAPTER 13
                           Debtor.
         ____________________________________/

              ORDER GRANTING MOTION FOR RELIEF FROM THE AUTOMATIC STAY

                  THIS CASE came on for hearing on December 8, 2022 at 9:00AM on the Motion for

         Relief from the Automatic Stay (“Motion”) filed by Specialized Loan Servicing LLC, as servicing

         agent for The Bank of New York Mellon, f/k/a The Bank of New York, successor in interest to

         JPMorgan Chase Bank, N.A. as Trustee for Bear Stearns Asset Backed Securities Trust 2006-SD2,

         Asset-Backed Certificates, Series 2006-SD2 (“Movant”) (Doc. No. 64). For the reasons stated

         orally on the record, it is

                  1.     The Motion (Doc. No. 64) is granted.
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        2.      The automatic stay arising by reason of 11 U.S.C. §362 of the Bankruptcy Code is

terminated as to Movant’s interest in the following property:

        LOT 22, IN BLOCK 4, OF PLANTATION PARK 10TH ADDITION, ACCORDING
        TO THE PLAT THEREOF, AS RECORDED IN PLAT BOOK 55, AT PAGE 21, OF
        THE PUBLIC RECORDS OF BROWARD COUNTY, FLORIDA.

        AKA 561 SW 60 Ave., Plantation, FL 33317 (“collateral”).

        3.      Movant has in rem relief to take any and all steps necessary to exercise any and all

rights it may have in the collateral, to gain possession of said collateral, to have such other and

further in rem relief as is just, but the Movant shall not obtain in personam relief against the Debtor.

                                                  ###
Submitted by:
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Counsel for Movant is directed to serve a copy of this order to the parties listed below and file a
Certificate of Service with the Court.

Copies furnished to:
VIA REGULAR MAIL
Ralph Levi Sanders, Jr.
561 SW 60 Ave.
Plantation, FL 33317

VIA CM/ECF NOTICE
Michael J. Brooks, Esq.
8660 West Flagler Street
Miami, FL 33144

Robin R. Weiner
Robin R. Weiner, Chapter 13 Trustee
Post Office Box 559007
Fort Lauderdale, FL 33355

U.S. Trustee
Office of the US Trustee
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